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                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA


           IN RE: ZANTAC (RANITIDINE)                                                   MDL NO. 2924
           PRODUCTS LIABILITY                                                            20-MD-2924
           LITIGATION

                                                           JUDGE ROBIN L. ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE E. REINHART

           ___________________________________/

           THIS DOCUMENT RELATES TO: ALL CASES

                              MDL PLAINTIFFS’ LEADERSHIP’S RESPONSE
                              TO ORDERS TO SHOW CAUSE [DE 6303, 6444]

           The Court ordered MDL Plaintiffs’ Leadership and all Plaintiffs to show cause why

    summary judgment should not be entered. See DE 6303, 6444. The proper answer begins with

    the basics of what this Court’s Daubert ruling means and what it does not mean. This Court’s

    Daubert order ruled in limine that specific opinions proffered by specific expert witnesses were

    not admissible under Daubert and, as a consequence, those Plaintiffs who proposed to introduce

    these experts at trial could not provide admissible evidence of general causation, warranting

    summary judgment. Such a ruling did not, and could not, determine whether general causation

    fails as a matter of science, or whether a different set of proposed experts with different

    methodologies, supporting materials, reports, and depositions could support general causation. To

    grant summary judgment in all cases for all Defendants would rest on the infirm proposition that

    general causation has been litigated for all cases and for all time with respect to each Plaintiff and

    Defendant. But it has not.

    I.     Most Plaintiffs Have Not Had Any Opportunity to Submit Their Own Experts.

           The Court’s unstated assumption appears to be that every Plaintiff with a case now filed in

    the MDL (for every claim, whether dismissed or live) already designated specific expert witnesses,


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    those experts cannot amend their reports, and those experts’ opinions were excluded. That

    assumption does not withstand scrutiny. Most Plaintiffs did not even have a case on file when this

    Court issued its Daubert decision. It is axiomatic that a stranger to a case or controversy cannot

    designate experts (or do anything else) in someone else’s active litigation. And some Plaintiffs

    only filed suit after the close of expert discovery of the excluded experts. Those Plaintiffs similarly

    have had no opportunity to submit experts of their own.

           Though Plaintiffs frequently share experts, the Court cannot force them to do so. Here

    there is no indication that every Plaintiff has consented to using the slate of experts proffered by

    MDL Plaintiffs’ leadership—in fact, certain counsel have strongly indicated they do not wish to

    do so. In many MDLs, Daubert is conducted in the context of bellwether cases, which makes the

    entitlement of other plaintiffs to proffer different experts clear. Where that is not true, MDL courts

    provide an opt-out (or opt-in) process. The Federal Judicial Center’s Pocket Guide for Transferee

    Judges has a helpful discussion on this point:

                   The use of common experts, along with consolidated expert
                   disclosures and expert discovery, is also sometimes worthwhile. …
                   [H]igh expert fees can provide an incentive for parties to join
                   together in selecting their experts on common issues and to establish
                   reasonable parameters on expert discovery.
                   The PPA MDL court developed a system allowing plaintiffs in the
                   individual federal actions, as well as state court plaintiffs, to either
                   adopt scientific experts selected by the steering committee or
                   decline to do so. Following the plaintiffs steering committee's Rule
                   26 disclosures of general causation experts, the court gave
                   individual plaintiffs a two-week opt-in period to decide whether to
                   adopt those experts for use in their respective cases.… Later-added
                   tag-along parties were given until three months prior to the close
                   of fact discovery in their cases to adopt or decline to adopt experts.
    Fed. Judicial Ctr., Managing Multidistrict Litigation in Products Liability Cases, A Pocket Guide

    for Transferee Judges, FJC-MISC-2011-7, at 26, (2011) (emphasis added, footnote calls omitted).

           Courts in this district have followed similar procedures. In the Denture Cream MDL, after



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    an adverse Daubert ruling pertaining to specific experts, various plaintiffs argued the order did not

    apply to them, but Chief Judge Altonaga disagreed. There, specific pre-trial orders required

    “Plaintiffs who filed cases after” initial expert disclosure to “identify and serve Rule 26 general

    causation report(s),” or instead “be deemed to rely on the general causation expert reports

    submitted by Plaintiffs” previously. In re Denture Cream Prod. Liab. Litig., 204 F. Supp. 3d 1348,

    1350 (S.D. Fla. 2016) (quoting DE 2144).

           The Lipitor case is fully consistent with this procedure as, there too, the MDL court allowed

    individuals multiple opportunities to produce their own experts if they wished to do so.1 Unlike

    Denture Cream or Lipitor, this Court never established an opt in or opt out process associated with

    the now-excluded experts, and has set no deadlines for newly filed Plaintiffs to submit experts.

           It is no answer to say all Plaintiffs and Registry Claimants were represented by MDL

    Plaintiffs’ Leadership. First, this Court is incorrect to assume that Plaintiffs’ right to counsel of

    choice is displaced by the appointment of leadership. Other than pro se litigants, each plaintiff has

    her own counsel that makes decisions for that individual case.2 The Fluoroquinolone MDL

    illustrates the point. There, individual plaintiffs argued that leadership was “responsible for



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      The Fourth Circuit explained that it would “essentially disregard the entire course of the MDL
    proceedings” to remand the cases with no ruling on Daubert, rather than have the MDL court
    resolve Daubert. See In re Lipitor (Atorvastatin Calcium) Mktg., Sales Pracs. & Prod. Liab. Litig.
    (No II) MDL 2502, 892 F.3d 624, 648-49 (4th Cir. 2018). This Court is not being asked to remand
    cases with no ruling on key issues. Cf. DE 6303 at 19 (quoting this language to suggest that this
    Court must apply its Daubert order in favor of Defendants that never litigated Daubert).
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      See In re: Gen. Motors LLC Ignition Switch Litig., No. 14-MC-2543 (JMF), 2016 WL 1441804,
    at *7 (S.D.N.Y. Apr. 12, 2016) (In MDLs, leadership “does not serve as counsel for all personal
    injury and wrongful death plaintiffs in the MDL; instead, each of those plaintiffs is represented by
    counsel of his or her choice…. [I]n contrast to absentee members of a class action, the personal
    injury and wrongful death plaintiffs in this MDL … have their own counsel. Those counsel not
    only can, but … are required to, monitor the progress of the litigation.”); Stephen J. Herman, Duties
    Owed by Appointed Counsel to Mdl Litigants Whom They Do Not Formally Represent, 64 Loy. L.
    Rev. 1, 7-8 (2018) (“it is assumed that such plaintiffs are simultaneously represented and protected
    by privately retained counsel”).


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    retaining and producing general causation and liability experts” for plaintiffs who opted out of a

    settlement. In re Fluoroquinolone Prod. Liab. Litig., No. 0:15-MD-02642, 2020 WL 1677966, at

    *2 (D. Minn. Apr. 6, 2020). The court rejected that contention, since Leadership need not “defend

    case-specific motions and in fact [the PTOs] preserve[] the right of individual plaintiffs to act in

    their own self-interest.” Id. Individual plaintiffs were required “retain[] general causation and

    liability experts,” for their individual case, and were given “90 days from the date of this Order

    retain the proper experts.” Id.

           “Any relationship between plaintiffs and the Lead and Liaison Counsel … is created by

    [PTO 20] and is limited to [PTO 20].… Any proposed function and/or responsibility to be imposed

    on leadership counsel may only emanate from the document giving rise to that group’s duties.”

    Casey v. Denton, No. 3:17-CV-00521, 2018 WL 4205153, at *4 (S.D. Ill. Sept. 4, 2018). Here,

    Leadership is “responsible for prosecuting … common benefit claims and class claims” and for

    “coordinating the pretrial proceedings conducted by counsel for the individual plaintiffs.” DE 685

    (PTO 20) at 13-14. Every case in this MDL is not, of course, a “common benefit claim,” and

    coordination, of course, does not mean selecting each plaintiff’s expert witnesses for her. To the

    contrary, the Court expressly carved out “matters specifically directed to individual Plaintiffs and

    [t]heir counsel.” Id. at 15. Just as in Casey, “it was never the intention or spirit of [PTO 20] to

    supersede the authority or importance of each plaintiff’s individually-retained counsel ….” 2018

    WL 4205153, at *5.

           Second, this Court’s appointment appropriately deputized leadership to negotiate pretrial

    orders on all Plaintiffs’ behalf. See PTO 20 at 13-16; PTO 37 at 9 (Registry Claimants also agreed

    leadership could “negotiate … PTOs”). But the 82 PTOs in this MDL all concern procedural and

    administrative matters. They do not cover dispositive motion practice for unwilling Plaintiffs, nor




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    do they waive any Plaintiffs’ right to submit, through their individual counsel, their own expert

    witnesses. There is no PTO purporting to irrevocably designate the leadership expert slate as each

    Plaintiff’s own expert.

           The Court asked the parties to brief “how an individual Plaintiff’s right to relitigate earlier

    consolidated decisions may be reconciled with the inherent case management challenges of a large

    toxic tort MDL.” DE 6444 at 15. The question rests on a false premise: Plaintiffs are not

    relitigating anything if they submit never-before-seen experts with never-before-reviewed

    methodologies.    Perhaps these experts will deploy methodologies so beyond reproach that

    Defendants will not even move to exclude them. That is, admittedly, unlikely. But the Court

    cannot prejudge the issue before it has been presented. Plaintiffs’ core due process right to an

    opportunity to be heard is precisely why PPA or Denture Cream set a deadline for individual

    Plaintiffs to adopt leadership’s expert slate or produce their own. Plaintiffs are not aware of any

    MDL that has required all Plaintiffs—with no opt-out right—to adopt leadership’s expert slate.

           The Court appears to fear the practical problem of thousands of Plaintiffs filing numerous

    expert disclosures, but there is no objective basis for this fear. No such problem has materialized

    in prior MDLs with this option. Even in this MDL, hardly any Plaintiffs filed a notice of intent to

    disclose non-designated cancer experts, even though all agree they had that right without “utilizing

    leadership counsel.” DE 6444 at 15. Expert witnesses are expensive, and many will prefer to

    adopt the excluded experts and appeal rather than proceed on their own dime.

           The Court’s alternative suggestion that the factual record is the same in each case is also

    mistaken. Expert testimony is relevant—indeed central—to the factual determination of general

    causation. Different experts providing different testimony will necessarily produce a different

    factual record that is not currently before the Court. So, even accepting the Court’s assertion that




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    every case “utilizes the same MDL master pleadings and avails itself of the same MDL record

    evidence—the same pleadings and the same evidence that gave rise to the Court’s Daubert

    decision,” DE 6444 at 14, different experts could use different methodologies that would yield

    testimony admissible to assist the trier of fact.

             The show-cause order itself demonstrates why the particular expert makes all the

    difference. “Dr. Najafi was stricken, inter alia, because of his poor documentation of experiments

    and because of his excessive reliance upon assistants that exercised their own independent

    judgment.” DE 6303 at 15. The epidemiologists “did not even rely upon [Dr. Najafi’s] testing of

    the Defendants’ product for their opinions.” Id. They were excluded “because they failed to

    adequately explain their methodologies and because they relied upon ‘cherry picked’ data from

    studies to support their conclusions.” Id. at 16. While we disagree with the Court’s above

    conclusions, Plaintiffs note the obvious possibility that another plaintiff could submit a testing

    expert with better documentation who did everything himself. And such a plaintiff may wish to

    hire an epidemiologist who does rely on the unimpeachable testing results and does not “cherry

    pick.”

             The Court asked whether the standard should be the same as a motion for reconsideration.

    It should not, since no Plaintiff is asking the Court to reconsider anything that has been decided in

    her case.

             The Court also asked how law of the case doctrine applies: “Relatedly, the parties must

    address how the law of the case could be different for any individual late-filing Plaintiff” as in,

    how “the Court [could] reach[] one conclusion on general causation for earlier-filed Plaintiffs who

    appeal to the Eleventh Circuit, but reach[] a different general causation conclusion for later-filed

    Plaintiffs who relitigated the issue.” DE 6444 at 16. The Third Circuit recently answered this




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    question clearly: “The law of the case doctrine cannot be applied across distinct actions in this

    multidistrict proceeding.” Home Depot USA, Inc. v. Lafarge N. Am., Inc., 59 F.4th 55, 61 (3d Cir.

    2023) (emphasis added). That is because an MDL is not a case, but a collection of many individual

    cases. “That means a district court’s decision whether to grant a motion ... in an individual case

    depends on the record in that case and not others.” Id. (quoting In re Nat’l Prescription Opiate

    Litig., 956 F.3d 838, 845 (6th Cir. 2020)).

           Remembering that it is not the fact finder, the Court could easily reach “one conclusion on

    general causation” for those who appeal now (resting on the leadership expert slate) and a different

    conclusion “for later-filed Plaintiffs.” D.E. 6444 at 16. The conclusion the Court has already

    reached is that particular experts cannot testify because they did not deploy a sufficiently reliable

    methodology to assist the trier of fact. Accordingly, the Plaintiffs who submitted those excluded

    experts do not have sufficient evidence to go to a jury on a key question of fact, entitling the Brand

    Defendants to judgment as a matter of law as to those Plaintiffs. That existing conclusion is

    entirely compatible with a future conclusion that different experts the Court has not yet reviewed

    have deployed reliable methodologies in support of the conclusion that ranitidine can cause one or

    more designated cancers. Armed with that admissible expert testimony, those Plaintiffs would

    survive summary judgment.

           If the Court instead recasts the conclusion it already reached as: “ranitidine does not cause

    any of the five designated cancers,” it should say so. If the Court has already reached that

    conclusion based on its review of all of the scientific evidence, such a holding cannot be squared

    with a future decision finding that ranitidine could cause cancer. It still would not be law of a

    later-filed Plaintiffs’ case, but the Court could give each Plaintiff their individual opportunity to

    be heard and then grant summary judgment, adhering to its conclusion based on its review of all




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    the science. It would be helpful for the Court to clarify which conclusion it reached: that the

    excluded experts did not offer admissible testimony, or that no expert could possibly offer

    admissible evidence that would survive general causation in this MDL because the Court has

    concluded, based on its review of the science, that NDMA in Zantac could not cause any of the

    designated cancers.

    II.    None of the Background Points Discussed in the Order Justify Summary Judgment.

           A.      The Case Management Structure Does Not Support Summary Judgment.

           The Court opined that “it was, from the very inception of this MDL, always the intent and

    design of the parties and of the Court that general causation would, if decided in the Defendants’

    favor, be dispositive of all claims in the MDL.” DE 6303 at 12-13. The Court similarly posited

    that “the Plaintiffs recently conceded that, at least as to the Brand Defendants, final judgment

    should be entered in the Defendants’ favor [f]or all personal injury claims. See generally DE

    6234.” DE 6303 at 12.

           Both of these statements falter on the same problem: the distinction between cases in which

    general causation has been litigated and those in which it has not. Taking the point Plaintiffs

    supposedly “conceded” at DE 6234, that filing could not have been clearer in arguing that final

    judgment should not be entered in the Brand Defendants’ favor for cases in which it was not

    litigated—including, for example any case that was not even filed when Daubert motions were

    submitted and opposed. See DE 6234 at 1-4. That is the opposite of a concession that Brand

    Defendants should receive final judgment for “all personal injury claims,” whether litigated or not.

    As for the intent of the parties and the Court, MDL Plaintiffs leadership cannot speak to the

    Defendants’ or the Court’s state of mind. But we can note the objective fact that this Court did

    not deploy an opt out or opt in process as countenanced by the Pocket Guide and as ordered by

    other MDL courts. That means the Court’s Daubert and summary judgment order applies only to


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    the Plaintiffs who submitted the now-excluded experts. And MDL Plaintiffs’ Leadership can also

    say that we expected (and still expect) most Plaintiffs to rely on the submitted experts rather than

    hire new ones. But MDL Plaintiffs’ Leadership did not intend to strip litigants of their due process

    right to individually be heard through the counsel of their choice, if they wish to proceed on their

    own. See In re Fluoroquinolone Prod. Liab. Litig., No. 0:15-MD-02642, 2020 WL 1677966, at

    *2 (D. Minn. Apr. 6, 2020) (highlighting an individual’s “right” to “disagree[] with Plaintiffs’

    Leadership’s decision” and instead “continue litigating,” which “necessarily entails the

    responsibility of retaining [] experts”).

           B.      Plaintiffs’ Putative Freedom to Take Discovery from Non-Brand Defendants
                   Was Illusory and Futile.

           The Court expresses that it is “unable to discern, why the Plaintiffs would have been unable

    to take third-party discovery,” and instead “presumes” that such discovery was not taken “because

    it makes sense that the best source of discovery to prove the theoretical capability of ranitidine to

    cause cancer is from the Brand Defendants who designed and manufactured the product.” DE 6303

    at 13. This presumption is wrong—third-party discovery would be irrelevant to any claims in the

    case and, for that reason, would have been futile and (if it mattered) unavailable.3

           Plaintiffs had no reason to take third-party discovery regarding generic ranitidine because

    the Court had already dismissed as preempted all claims based on consumption of generic

    ranitidine. Where discovery is not relevant to any fact still at issue in a case, parties generally

    should do not seek it. For that same reason, any third-party discovery would have been quashed

    under Rule 45(d)(3)(A)(iv), since the burden it imposed on the non-Brand Defendants would have

    been “undue” relative to the needs of the case.


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      Beyond that, it is not true that Brand Defendants designed and manufactured generic ranitidine,
    and so it would not “make sense” to presume that discovery limited to Brand Defendants would
    fully cover causation questions for generic ranitidine.


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           C.      The Court’s Understanding of its Daubert Order Cannot Enlarge that
                   Order’s Legal Effect.

           As noted above, Plaintiffs believe the Court’s Daubert order granted a motion in limine to

    exclude particular experts based on their methodologies. Because those experts only opined in

    support of claims based on consumption of branded Zantac, Plaintiffs believe the order was limited

    to those products. The Court suggests its order had a broader scope; that it addressed not only the

    “capability of the Brand Defendants’ ranitidine” to cause cancer—the only products at issue—but

    instead “on ranitidine, generally” to cause cancer. DE 6303 at 13-14. Elsewhere, the Court

    expresses the same point in a different way: “This Court is familiar with the science at issue, and

    it can see no reason why its ruling does not apply to Non-Brand Defendants.” DE 6303 at 20. The

    Court seems to be suggesting that it concluded definitively, based on the science that ranitidine of

    any sort cannot cause any of the five designated cancers. If that is so, Plaintiffs urge the Court to

    say so clearly, as that will likely eliminate any requests by any other Plaintiffs to submit new

    experts and will help frame the issues for appeal. Plaintiffs would still have an individual right to

    be heard, but there is surely no point in submitting new experts if the Court has already

    concluded—based on its review of the science rather than specific experts’ interpretation of it—

    that ranitidine in all of its forms could not cause any of the designated cancers.

           D.      The Orders Plainly Would Not Bind the Non-Brand Defendants if the Result
                   Favored Plaintiffs.

           The Court states multiple times that “the Court’s ruling on general causation applies with

    equal force to all of the Defendants, whether they participated in the Daubert briefing or not,” DE

    6303 at 17-18, and that if “the Court’s Daubert conclusions were wrong and the Eleventh Circuit

    reverses, that reversal should apply to every Defendant in this MDL, Brand or Non-Brand.” Id. at

    20. Plaintiffs disagree. Distributors and Retailers may waive their right to participate on remand

    but cannot suffer an adverse ruling from a court without due process of law, including the


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    opportunity to be heard.

            A “judgment or decree among parties to a lawsuit resolves issues as among them, but it

    does not conclude the rights of strangers to those proceedings.” Richards v. Jefferson Cnty., Ala.,

    517 U.S. 793, 798 (1996) (quoting Martin v. Wilks, 490 U.S. 755, 762 (1989). A nonparty has not

    had a “full and fair opportunity to litigate” a claim, and so issue preclusion does not apply except

    in specific, limited circumstances. Taylor v. Sturgell, 553 U.S. 880, 892 (2008). Those include

    an express agreement to be bound by a test case, certain types of interests in property,

    representative suits (such as class actions), a suit in which a non-party assumed control over the

    first litigation, or specific legal regimes such as bankruptcy. Id. at 895. None of these apply to

    MDLs. The non-Brands have not litigated Daubert, and have not won Daubert—nor, if the Brands

    had lost, would the non-Brands have lost Daubert.

            To be sure, the Court’s ultimate ruling may be predictable. But no preclusion doctrine

    applies since there is no full and fair opportunity to litigate.

            E.      The Court’s Understanding of What Would Be Surprising or Facilitate
                    MDLs Is Irrelevant to Whether Summary Judgment Is Proper.

            The Court suggests that applying its ruling to parties that did not litigate “should come as

    no surprise to the Plaintiffs,” DE 6303 at 11. Suffice to say that MDL Plaintiffs’ Leadership and

    many Plaintiffs are surprised at the Court’s conclusions and position, but that is neither here nor

    there. Even a well telegraphed error of law is still error.4 And many propositions appear to some

    to be “self-evident” or “unobjectionable,” which is why consent, rather than assumptions, are how


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      The Court suggests that its ruling at DE 3913 put Plaintiffs on notice of its plans, but omits that
    Plaintiffs responded by not pleading the claims. If anyone ever expected Daubert to be relevant
    for individualized negligence claims, that expectation was shattered months later when it turned
    out not to be relevant—because those claims were not pleaded. This was not a choice to delay
    amendment since Plaintiffs well knew the time to amend would close. The Retailers and
    Distributors knew those claims were not pleaded, which is why they did not participate in Daubert,
    since it—by then—could not affect them.


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    expert disclosure proceeds. Id. at 17. The general “purpose of MDLs,” id. at 18, similarly does

    not transform a legally unavailable path into a viable one. The “very premise” that cases in an

    MDL can be considered as a whole “is wrong” since “the cases within an MDL ‘retain their

    separate identities.’” In re Nat’l Prescription Opiate Litig., 956 F.3d at 845 (quoting Gelboim v.

    Bank of Am. Corp., 574 U.S. 405, 413 (2015)). An MDL “court’s decision whether to grant a

    motion … in an individual case depends on the record in that case and not others. Nor can a party’s

    rights in one case be impinged to create efficiencies in the MDL generally.” Id. General

    invocations of MDL efficiency are no substitute for law.

    III.   The Court Lacks Jurisdiction to Enter Judgment in Favor of the Generics,
           Distributors, or Retailers.

           The Court has already entered judgment in favor of the Generic Defendants with respect

    to all claims in this MDL. See DE 4664. Accordingly, the Court lacks jurisdiction to enter

    judgment again. They are simply not before the Court in any case or controversy over which this

    Court retains Article III authority.

           With respect to Retailer and/or Distributor Defendants, the only claims are the

    hypothesized case-specific negligence claims. If any had been pleaded, the Court could now enter

    judgment on those claims under Rule 56(f) or upon a proper motion. But no Plaintiff ever filed

    such a claim, and so none are pending. There is nothing to dismiss, and the hypothetical possibility

    of a Plaintiff’s requesting leave to amend to add the claim does not grant jurisdiction to enter

    judgment before amendment has been sought or allowed.




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    Dated: April 17, 2023                            Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

           I hereby certify that on April 17, 2023, I electronically filed the foregoing document with

    the Clerk of the Court using CM/ECF and that the foregoing document is being served on all

    counsel of record or parties registered to receive CM/ECF Electronic Filings.


                                                                /s/ Robert C. Gilbert
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